                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

IN RE:                                         )       2:16-CV-120          3:16-CV-243
                                               )       2:16-CV-161          3:16-CV-372
  Post-Conviction Guideline Challenges         )       2:16-CV-193          3:16-CV-373
  Impacted By Beckles v. United States         )       2:16-CV-214          3:16-CV-608
                                               )       2:16-CV-222
                                               )       2:17-CV-16


                                          ORDER

         Each of the foregoing cases contain post-conviction challenges to either a career

offender designation or base offense level enhancement in light of Johnson v. United

States, 135 S. Ct. 2551 (2015). On March 6, 2016, the Supreme Court held that the

United States Sentencing Guidelines are “not amendable to vagueness challenges.”

Beckles v. United States, No. 15-8544, 2017 WL 855781, at *7 (U.S. March 6, 2017).

Because the Johnson decision does not undermine sentences based on Guideline

enhancements, the Court believes summary denial of the above petitions with prejudice

would be appropriate.

         To the extent that the parties disagree, the Court affords the following notice: the

parties should file any motion that they want the Court to consider in conjunction with, or

prior to, ruling on these petitions on or before April 1, 2017. The deadline for responses

is April 15, 2017. Absent such a motion, the Court will summarily dismiss the above

cases.

         IT IS SO ORDERED.

                                                                 s/ Leon Jordan
                                                           United States District Judge


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